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CO S26 Rev. S/2011




             UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                      FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                     )
                                             )
                     vs.                     )       Criminal Case No.: 20CRI6S-JEB
                                             )
                                             )
KEVIN CLINESMITH
                                             )
                                             )


                                    WAIVER OF TRIAL BY JURY

        With the consent of the United States Attorney and the approval ofthe Court, the defendant

waives his right to trial by jwy.




                                                    Defendant




I consent:


u.l!!im
      ~'tf!.uomey
Approved:

                                                    Date: 8/19/2020

James Boasberg

United States District Judge .
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